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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv.
No. 19-cr-18 (ABJ)

ROGER J. STONE, JR.
Defendant.

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DECLARATION OF PETER CLAY

I am Peter Clay and I hereby declare:
Background
I. I am an internationally experienced cyber security executive and senior advisor with
23 years of service to the world's largest private and public-sector entities, small to mid-sized
organizations, US legislative and executive branches, and regulatory agencies.
a Over my career I have worked with and for International Banks, State and Local
Governments, the U.S. Navy, U.S. Mint, Department of Defense, Department of Homeland Security,

General Services Administration, and Small Business Administration.

3. A true and correct copy of my curriculum vitae is attached as an Exhibit.
A, The below expresses my opinions and my reasoning is set out after the opinions. The

reasoning is based upon publicly available documents from WikiLeaks.

Opinions
5. Given the information that is available it is more likely that the data posted to
Wikileaks was removed by someone with physical access to the computing

equipment rather than removal by an external actor.
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6. Intrinsic metadata in the publicly available files on WikiLeaks demonstrates that the
files that were acquired by WikiLeaks were most likely delivered in a medium such as a thumbdrive.
7. The data indicates that the files were likely acquired from the DNC manually and

physically local to the DNC.

Supporting Reasoning

8. Forensic Fingerprint - An anomaly of the DNC data on the WikiLeaks site is that all
last modified date and time stamps end in an even number, This is a side cflect of files that have
been copied directly from a source system (such as a server) to a physical medium such as a
thumbdrive. This is in contrast to files that have been copied from one server over the internet to
another system as used by hackers (ze. Linux).

9. Time signatures - On the Guccifer 2.0 posted (time stamped) files it reveals a time
signature that allows us to calculate the speed the files was copied. As each file is copied from the
source to the destination, the file is time stamped. All of the files constantly demonstrate they were
copied at speeds significantly greater than internet speeds. This data came from "Guccifer 2.0."
Again, consistent with files copied directly and manually to a thumbdrive inside the building.

10. Missing day - The DNC files from WikiLeaks reveal that they were copied in three
tranches, on May 23, 25, and 26; skipping the 24th. This would be more consistent with files that
were being covertly copied when opportunities presented themselves, as opposed to a collection of
files that had already been gathered and then transmitted as a collection to a destination such as
WikiLcaks.

11. Time zone - While a weak indicator, it needs to be noted that the time zones of the

files are more consistent with working hours in America rather than other sides of the globe.
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12. From the information that has been provided it appears likely that standard forensic
techniques regarding the preservation of the hard drives and volatile memory were not followed

which leaves only the review of publicly available information as the forensic source.

I declare under penalty of perjury that the foregoing is true and correct. Executed in

_____._this _9th___ day of May, 2019. aa

Petér Clay es ~——

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